1 F.3d 1235
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Johnny WELLS, Petitioner-Appellant,v.Michael E. BUMGARNER;  Attorney General of North Carolina,Respondents-Appellees.
    No. 93-6296.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  July 16, 1993.Decided:  August 3, 1993.
    
      Appeal from the United States District Court for the Western District of North Carolina, at Statesville.  Graham C. Mullen, District Judge.  (CA-91-111-ST-C-MU)
      Johnny Wells, Appellant Pro Se.
      Richard Norwood League, Office of the Attorney General of North Carolina, Raleigh, North Carolina, for Appellees.
      W.D.N.C.
      DISMISSED.
      Before NIEMEYER, HAMILTON, and WILLIAMS, Circuit Judges.
      OPINION
      PER CURIAM:
    
    
      1
      Johnny Wells seeks to appeal the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254 (1988).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.*  Wells v. Bumgarner, No. CA-91-111-ST-C-MU (W.D.N.C. Mar. 17, 1993).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    DISMISSED
    
      
        *
         We also deny Appellant's "Motion For Reconsideration For Counsel" and his motion for the appointment of counsel
      
    
    